






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-086 CR


____________________



MACK WHITTINGTON, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 83393






MEMORANDUM OPINION (1)


	Mack Whittington was convicted of possession of a controlled substance and was
sentenced to one year of confinement in the Texas Department of Criminal Justice, State
Jail Division.  Whittington filed a pro se notice of appeal on February 6, 2003.  The trial
court entered a certification of the defendant's right to appeal in which the court certified
that this is a plea-bargain case, and the defendant has no right of appeal.  See Tex. R. App.
P. 25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by
the district clerk.  

	On February 12, 2003, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record by March 14, 2003.  See Tex. R. App. P. 37.1.  The
record has not been supplemented with an amended certification.  Because a certification
that shows the defendant has the right of appeal has not been made part of the record, the
appeal must be dismissed.  See Tex. R. App. P. 25.2(d).   

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

									PER CURIAM


Opinion Delivered April 10, 2003

Do Not Publish


Before McKeithen, C.J., Burgess and Gaultney, JJ.

1. Tex. R. App. P. 47.4.

